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                       IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF WEST VIRGINIA

                                         Wheeling Division



   DIANA MEY,
   CRAIG CUNNINGHAM,
   STEWART ABRAMSON,
   JAMES SHELTON,                                      Case No.: 5:17-cv-00179-JPB
   DAVID and ROXY VANCE,
   RUSSELL LOCKE, and THOMAS STARK,
   individually and on behalf of a class of all
   persons and entities similarly situated,
                  Plaintiffs,

   v.

   DIRECTV, LLC,

                   Defendant.



                                      CERTIFICATE OF SERVICE


       I, Danielle M. Waltz, counsel for Defendant DIRECTV, LLC, hereby certify that on this
  31st day of January, 2022 a true and correct copy of the foregoing was served via email on the
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